Amanda Harber
49th State Law
PO BOX 661
Soldotna, AK 99669
(907) 420-4290
amanda@49thstatelaw.com

Counsel for Defendant Michael Roza

                              UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,                       Case No. Case No. 3:21-CR-00074-
                                                 001-JMK-DMS
                           Plaintiff,
                                                 NON-OPPOSED MOTION FOR
         vs.                                     TELEPHONIC APPEARANCE OF
                                                 COUNSEL AND PROPOSED
 Michael Roza,                                   THIRD PARTY CUSTODIANS
                           Defendant.


       Defendant Michael Roza, through counsel, Amanda Harber, appearing as a member

of the CA panel, moves this court for permission for counsel and third party custodians.

Additionally, counsel for Mr. Roza does not oppose Mr. Roza appearing telephonically,

rather than in person, due to the recent COVID numbers, should the court wish to order

that as well.

       Assistant US Attorney Yunah Chung does not oppose this request.



                DATED at Soldotna, Alaska this 18th day of August, 2021.

                                              Respectfully submitted,
                                              /s/ Amanda Harber
                                              Amanda Harber
                                              49th State Law

                Certificate of Service:




      Case 3:21-cr-00074-JMK-DMS Document 18 Filed 08/18/21 Page 1 of 2
I hereby certify that I electronically filed the foregoing and
any attachments with the Clerk of Court for the United
States District Court for the District of Alaska by using the
district’s CM/ECF system on August 18, 2021. All
participants in this case are registered CM/ECF users and
will be served by the district’s CM/ECF system.
/s/ Amanda Harber




United States v. Rodney Godwin
Case No. 3:21-cr-00054-JMK-MMS                                              Page 2



        Case 3:21-cr-00074-JMK-DMS Document 18 Filed 08/18/21 Page 2 of 2
